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                              UNITED STATES DISTRICT COURT

                                     DISTRICT OF OREGON

                                      PORTLAND DIVISION


   DON’T SHOOT PORTLAND, a nonprofit                    3:20-cv-00917-HZ
   corporation, in its individual capacity,
   NICHOLAS J. ROBERTS, in an individual
   capacity and on behalf of themselves and all         STIPULATED ADDITIONAL
   others similarly situated, MICHELLE                  TEMPORARY RESTRAINING ORDER
   “MISHA” BELDEN, in an individual capacity
   and on behalf of themselves and all others
   similarly situated, ALEXANDRA JOHNSON,
   in an individual capacity and on behalf of
   themselves and all others similarly situated,

                   PLAINTIFFS,

          v.

   CITY OF PORTLAND, a municipal
   corporation, and MULTNOMAH COUNTY, a
   political subdivision of the State,

                   DEFENDANTS.

          The parties hereby jointly stipulate to the following modification to the Temporary

   Restraining Order entered by this Court on June 9, 2020 (Dkt# 29), and extended through July

   24, 2020 (Dkt #34)

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           PPB is restricted in using the following munitions in connection with crowd control as

   follows:

           (1) FN303s and 40MM less lethal launchers with or without OC payload are limited to

   use as outlined in PPB Use of Force Directive 1010, and in addition shall not be used where

   people engaged in passive resistance are likely to be subjected to the force.

           (2) Rubber Ball Distraction Devices (“RBDD”) shall be limited to use as outlined in PPB

   Use of Force Directive 1010. In addition, use of RBDD shall be limited to situations in which the

   lives or safety of the public or the police are at risk and shall not be used to disperse crowds

   where there is no or little risk of injury.

           (3) Aerosol restraints (handheld OC or “pepper spray”) shall not be used against persons

   engaged in passive resistance, and consistent with PPB Use of Force Directive 1010, members

   shall minimize exposure to non-targeted persons.

           (4) Long Range Acoustical Devices (“LRAD”) shall be prohibited for use as a warning

   signal or distraction tactic and shall be used for announcements only.

           “Passive resistance” as used above means a person’s non-cooperation with a member that

   does not involve violence or other active conduct by the individual.

           This order shall remain in effect until July 24, 2020 or until the Court orders otherwise, or

   by agreement of the parties.



           So stipulated:



           /s/ J. Ashlee Albies                                   /s/ J. Scott Moede                         _
           J. Ashlee Albies, Franz Bruggemeier,                   J. Scott Moede
           Juan C. Chavez, Alex Meggitt, Jesse                    Naomi Sheffield
           Alan Merrithew, Brittney Plesser,                      Robert Yamachika
           Viktoria Safarian and Whitney Stark
           Attorneys for Plaintiffs                               Attorneys for Defendant City of Portland



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